CM/ECF-GA Northern District Court                                   https://gand-ecf.sso.dcn/cgi-bin/GANDc_mkmin.pl?872172835824111-...
                         Case 1:20-cv-04809-TCB Document 18 Filed 11/29/20 Page 1 of 2




                                                   1:20-cv-04809-TCB
                                               Pearson et al v. Kemp et al
                                             Honorable Timothy C. Batten, Sr.

                                Minute Sheet for proceedings held In Open Court on 11/29/2020.


              TIME COURT COMMENCED: 7:52 P.M.
              TIME COURT CONCLUDED: 8:48 P.M.                      COURT REPORTER: Lori Burgess
              TIME IN COURT: 00:56                                 DEPUTY CLERK: Uzma Wiggins
              OFFICE LOCATION: Atlanta

         ATTORNEY(S)                Harry MacDougald representing Brian Jay Van Gundy
         PRESENT:                   Harry MacDougald representing Carolyn Hall Fisher
                                    Harry MacDougald representing Cathleen Alston Latham
                                    Harry MacDougald representing Coreco Jaqan Pearson
                                    Harry MacDougald representing Gloria Kay Godwin
                                    Harry MacDougald representing James Kenneth Carroll
                                    Harry MacDougald representing Vikki Townsend Consiglio
                                    Charlene McGowan representing Anh Le
                                    Charlene McGowan representing Brad Raffensperger
                                    Charlene McGowan representing Brian Kemp
                                    Charlene McGowan representing David J. Worley
                                    Charlene McGowan representing Matthew Mashburn
                                    Charlene McGowan representing Rebecca N. Sullivan
                                    L. Wood representing Brian Jay Van Gundy
                                    L. Wood representing Carolyn Hall Fisher
                                    L. Wood representing Cathleen Alston Latham
                                    L. Wood representing Coreco Jaqan Pearson
                                    L. Wood representing Gloria Kay Godwin
                                    L. Wood representing James Kenneth Carroll
                                    L. Wood representing Vikki Townsend Consiglio
                                    ** Russell Willard, Howard Kleinhendler
         PROCEEDING
                                    Telephone Conference(Motion Hearing Non-evidentiary);
         CATEGORY:
         MINUTE TEXT:               Zoom Hearing re briefing, scheduling, and Plaintiff's request to
                                    forensically inspect county voting machines.



1 of 2                                                                                                             11/30/2020, 9:18 AM
CM/ECF-GA Northern District Court                        https://gand-ecf.sso.dcn/cgi-bin/GANDc_mkmin.pl?872172835824111-...
                         Case 1:20-cv-04809-TCB Document 18 Filed 11/29/20 Page 2 of 2

         HEARING STATUS:            Hearing Concluded




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